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                                    United States District Court
                                    SOUTHERN DISTRICT OF CALIFORNIA

                            NOTICE OF DOCUMENT DISCREPANCY

TO: ☒ U.S. DISTRICT JUDGE / ☐ U.S. MAGISTRATE JUDGE: The Hon. Anthony J. Battaglia
 FROM: J. Vann, Deputy Clerk                         RECEIVED DATE: September 17, 2019
 CASE NO. 19-cv-00366-AJB-AHG                        DOC FILED BY: Anton Ewing
 CASE TITLE: Stark et al v. Stall
 DOCUMENT ENTITLED: Plaintiff’s Request for Guidance from the Court

        Upon the submission of the attached document(s), the following discrepancies are noted:


  Civ.L. Rule 5.1 - Missing time and date on motion and/or supporting documentation;



                                                           Date Forwarded: September 18, 2019

                   ORDER OF THE JUDGE / MAGISTRATE JUDGE

IT IS HEREBY ORDERED:
 ☒ The document is to be filed nunc pro tunc to date received.
      The document is NOT to be filed. But instead REJECTED, and it is ORDERED that the Clerk
 ☐
      serve a copy of this order on all parties.
Rejected documents to be returned to pro se or inmate? ☐ Yes.  Court copy retained by chambers ☐
          Any further failure to comply with the Local Rules may lead to penalties pursuant to
                           Civil Local Rule 83.1 or Criminal Local Rule 57.1.

Date: September 18, 2019               CHAMBERS OF: The Honorable Anthony J. Battaglia

cc: All Parties                             By:   Judge Battaglia’s Chambers
